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                                                                                                  CO-290
Notice of Appeal Criminal                                                                        Rev. 3/88

                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,       )
                                )
           v.                   )                            Case No.: 1:18-cr-218 (TSC)
                                )
MARIIA BUTINA, aka MARIA BUTINA )
                                )
     Defendant.                 )
                                )

                                          NOTICE OF APPEAL

Name and address of appellant:                               Mariia Butina, a/k/a Maria Butina
                                                             Grady County Jail
                                                             Chickasha, OK 73018

Name and address of appellant’s attorney:                    Robert N. Driscoll (DC Bar #486451)
                                                             Alfred D. Carry (DC Bar #1011877)
                                                             McGlinchey Stafford PLLC
                                                             1275 Pennsylvania Avenue NW, Suite 420
                                                             Washington, DC 20004

Offense: Conspiracy to violate 18 USC § 951 (acting as an agent of a foreign official), in
violation of 18 USC § 371.

Concise statement of judgment or order, giving date, and any sentence:
Judgment in a Criminal Case, entered on the docket 5/2/19. Defendant sentenced to a term of 18
months imprisonment; no term of supervised release; and $100 special assessment.

Name and institution where now confined, if not on bail: Grady County Jail Oklahoma

        I, the above named appellant, hereby appeal to the United States Court of Appeals
for the District of Columbia Circuit from the above-stated judgment.

5/15/19                                             Mariia Butina
DATE                                                APPELLANT

                                                    Robert N. Driscoll
                                                    ATTORNEY FOR APPELLANT
CJA, NO FEE                 x
PAID USDC FEE               No
PAID USCA FEE               No

Does counsel wish to appear on appeal?            Yes        x No
Has counsel ordered transcripts?              x Yes            No
Is this appeal pursuant to the 1984 Sentencing Reform Act?     Yes   x No
